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           Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 2 of 42 Page ID #:19
                                                                                  22STCV14835
Electronically FILED by Superior Court of California, County of Los Angeles on 05/04/2022 03:21 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk



                                                  SUIYIIVIoNS                                                         I                        FOR COURT USE ONLY
                                                                                                                                        tsoco aaRa uso oEtA coRrq
                                          (CITACIOIV JUDICIAL)
        NOTICE TO DEFENDANT: OMNI HOTELS MANAGEMENT
        (AV1S0 AL DEMANDADO): CORPOR.ATION, a Delaware corporation;
         and DOES 1 through 100, Inclusive


       YOU ARE BEING SUED BY PLAINTIFF: CARMEN AQUINO, on behalf
       (LO ESTA DEMANDANDO EL DEMANDANTE): of herself and all others
        similarly situated


         NOi7CEl You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
         below.
            You have 30 CALENDAR DAYS after thls summons and legal papers are served on you to file a written response at this court and have a copy
         senred on the plainUff. A letter or phone ccall will not piotect you. Your written response must be in proper legal form If you want the court to hear your
         case. There may be a court form that you oan use for your response. You can find these court forms and more fnformation at the Califomia Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selihelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
         the court derk for a fee waiver form. If you do not frle your response on time, you may lose the case by default, and yourwages, money, and property
         may be taken wtthout further vvaming from the court.
            There are other legal requiremertts. You may want to call an attomey right away. If you do not know an attorney, you may want to call an attomey
         referral service. If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofit groups at the California Legal Services Web sfte (www.lawhelpcalilomia.org), the Califomia Courts Online Self-Help Center
         (www.courtlnfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbltration award of $10,000 or more in a civil case. The court's lien must be paid before the court wiil dismiss the case.
        IAVISO! Lo han demandado. Sl no responde dentro de 30 dlas, la corte puede deddlr en su contra sln escucharsu versi6n. Lea la Infomracldn a
        continuad6n,
           Trene 30 DIAS DE CALENDARIO despu6s de que le entreguen esta dtad6n y papeles legales para presentar una respuesta por escrito en esta
        corte y hacer que se entregue una cop/a al demandante. Una carta o una Uamada telefbnica nolo protegen. Su respuesta por escd(o tlene que estar
        en formato legaf correcto si desea que procesen su caso en la corte. Es posible que haya un fonnulado que usted pueda usarpara su respuesta.
        Puede encontrar estos fom►ularios de la carte y mSs lnfonnad6n en el Centro de Ayuda de las Cortes de Califomia tNnvw.sucorte.ca.gov)• an ta
        blblloteca de leyes de su condado o en la corte que le quede mis cerca. SI no puede pagarla cuota de presentad6n, plda al secretado de la corte
        que fe d8 un formularlo de exend6n de pago de cuotas. Sl no presenta su respuesta a tlempo, puede perder el caso porincumplim(ento y la corte le
        podr8 quitar su sueldo, cgnero y blenes s!n mds advertencia.
          l-!ay otros requlsitos legales. Es recomendable que Ilame a un abogado lnmediatamente. Si no conoce a un abogado, puede Jiamar a un servido de
        remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requlsltos para obtener seMclos legales gratuitos de un
        programa de sarvlclos legales s!n fines de lucro. Puede encontrar estos grupos s/n rines de lucro en el sltlo web de Calllomia Legal Servlces,
        (www.lawhelpoalifornia.org), en el Centro de Ayuda de las Cortes de Callfomia, (4vww.sucorte.ca.gov) o poni6ndose en•contacYo con la corte o al
        colegio de abogados locales. AV1S0: Porley, la corte tiene derecho a redamarlas cuotas y los costos exentos porimppner un gravamen sobre
        cualquierrecuperaci6n de 510,0006 mas de valorredbida mediante un acuerdo o una concesl6n de arbitraje en un caso de derecho civfl. rene que
        pagar ef gravamen de la corte antes de que la corte pueda desechar el caso.
       The name and address of the court is:                                                                              CASE NUMBER:
                                                                                                                          (NGmEvo del Ceso):
       (El nombre y direcci6n de la corte es):
      Superior Court of California, County of Los Angeles                                           2 2STCf%r`I 4 035
      1 I 1 North Hill Street
      Los Angeles, California 90012
      The name, address, and teiephone number of piaintiffs attorney, or plaintiff Wthout an attorney, is:Ivan P. IvIedina, Esq.
      (EI nombre, la direcci6n y el numero de teldfono del abogado del demandante, o def demandente que no tiene abogado, es):
      THENOURMAND LAW FIRM, APC                                     Sherri P. Carter Executive Officer f Clerk af Court
      8822 West Olympic Boulevard, Beverly Hills, Califomia 90211                                                      (310) 553-3600
      DATE:                                                                Clerk, by                                                                                   Deputy
      (Fecha)     O EV 04f2 p 22                                           (Secretario)             R. LDzDD D                                                        (Adjunto)
      (For proof of service of this summons, use Proof of Service of Summons (form POS-010))
      (Para prueba de entrega de esta citatibn use e/ formulario Proof of Servlce of Summons, (POS-010)).
                                              RIATIfIC   TA   TtJC   P]GlnQf1nl QCO\/CA.     V .... ..............J




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         Jud4ialCoundlofCotifomia --                                                                                                                           www.a0uAlnro.ca.gov
         SM100    [Rov. July 1, 2009]                                                                                                                      weww ooc e, Form swtda-
         Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 3 of 42 Page ID #:20
                                                                                 22STCV14835
                                   Assigned for all purposes to: Spring Street CdJrthouse', Judicial Officer: Elihu Berle

Electronically FILED ly Superior Court of California, County of Los Angeles on 05/04/2022 03:21 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk



                 1 Michael Nourmand, Esq. (SBN 198439)
                   James A. De Sario, Esq. (SBN 262552)
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                 4 Telephone (310) 553-3600
                   Facsimile (310) 553-3603
                 5
                     Attorneys for Plaintiff,
                 6   CARMEN AQUINO, on behalf of
                     herself and all others similarly situated
                 7

                 8                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 9                           FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

              10

              11 CARMEN AQUINO, on behalf of herself and )                                             CASE NO.: 2 2 S TCV 1 4 :335
                 all others similarly situated           )
              12                                         )                                             CLASS ACTION COMPLAINT FOR
                                 Plaintiffs,             )                                             DAMAGES AND RESTITUTION
              13                                                                             )
                                                                                             )         1.        FAILURE TO PAY OVERTIME
              14                            V.                                               )                   WAGES;
                                                                                             )
              15                                                                             )        2.        FAILURE TO PAY MINIMUM
                 OMNI HOTELS MANAGEMENT                                                      )                  WAGE;
              16 CORPORATION, a Delaware corporation;                                        )
                 and DOES 1 through 100, Inclusive                                           )        3.        FAILURE TO PROVIDE REST
              17                                                                             )                  PERIODS;
                                            Defendants.                                      )
              18                                                                             )        4.        FAILURE TO PROVIDE MEAL
                                                                                             )                  PERIODS;
              19                                                                             )
                                                                                             )        5.        FAILURE TO PAY ALL WAGES
              20                                                                             )                  UPON TERMINATION;
                                                                                            )
              21                                                                            )         6.        FAILURE TO PROVIDE
                                                                                            )                   ACCURATE WAGE
              22                                                                            )                   STATEMENTS; and
                                                                                            )
              23                                                                            )         7.        UNFAIR COMPETITION
                                                                                  -         )
              24                                                                            )                   DEMAND FOR JURY TRIAL
              25                COMES NOW plaintiff CARMEN AQUINO (hereinafter "Ms. Aquino" and/or "Plaintiffl')
              26     on behalf of herseif and all others similarly situated, and alleges as follows:
              27

              28

                                                                                   1
                                                                        CLASS ACTION COMPLAINT
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   1
                                             GENERAL ALLEGATIONS

    2
                                                   INTRODUCTION

    3            1.      This is a Class Action, pursuant to California Code of Civil Procedure §382, on

   4     behalf of Plaintiff and all other current and former similarly situated employees employed by or

   5     formerly employed by OMNI HOTELS MANAGEMENT CORPORATION ("Omni Hotels" and

   6    any subsidiaries or affiliated companies hereinafter collectively referred to as "Defendants") within

   7    I the State of California.

   8             2.      For at least four (4) years prior to the filing of this action and through to the

   9     present, Defendants have had a pattern and practice of failing to pay wages, including overtime

  10    wages, on multiple occasions to Plaintiff and other non-exempt employees in the State of

  11    California for off-the-clock work, such as submitting to required COVID-19 temperature checks

  12    prior to clocking-in and donning and doffmg required work uniforms prior to and after clocking-in

  13    I and out.

  14             3.      For at least four (4) years prior to the filing of this action and continuing to the

  15 present, Defendants have had a pattern and practice of failing on multiple occasions to provide
                                                                                      ,
                          similarly situated employees  or former employees within the  State of Califomia
  16 Plaintiff and other

  17 rest periods of at least ten (10) minutes per four (4) hours worked or major fraction thereof and

  18    failing to provide compensation for such unprovided rest periods as required by California wage

  19    and hour laws.                                          —

  20             4.      For at least four (4) years prior to the filing of this action and contiriuing to the

  21    present, Defendants have had a pattem and practice of failing on multiple occasions to provide

  22    Plaintiff and other similarly situated employees or former employees within the State of California

  23    a thirty (30) minute uninterrupted meal period for days on which the employees worked more than

  24    five (5) hours in a workday and a second thirty (30) minute uninterrupted meal periods for days on

  25    which the employees worked in excess of ten (10) hours in a work day, and failing to provide

  26 1 compensation for such unprovided meal
                                                    periods as required by California wage and hour laws.

  27    ///

  28

                                                       2
                                            CLASS ACTION COMPLAINT
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    1          5.      For at least three (3) years prior to the filing of this action and continuing through
    2 the present, Defendants on multiple occasions have failed to pay Plaintiff and other similarly

    3 situated employees the full amount of their wages owed to them upon termination and/or
    4 resignation as required by Labor Code §§ 201 or 202.
    5          6.      For at least one (1) year prior to the filing of this action and continuing through the
    6 present, Defendants on multiple occasions have failed to issue Plaintiff and other similarly situated
    7 employees accurate itemized wage statements as required by Labor Code § 226.

    8          7.      Plaintiff, on behalf of herself and all other similarly situated employees, brings
    9 this action pursuant to, including but not limited to, California Labor Code §§ 200, 201, 202, 203,
  10 226, 226.7, 510, 512, 1194,1194.2, 1197, and California Code of ReRwations, Title. 8, §11070,
  11 seeking unpaid overtime and minimum wages, failure to pay premium wages for non-compliant
  12 rest and meal periods, penalties, and reasonable attorney's fees and costs.

  13           8.      Plaintiff, on behalf of herself and all other similarly situated employees, pursuant
  14 to Califomia Business & Professions Code §§17200-17208 also seeks all monies owed but
  15 withheld and retained by Defendants to which Plaintiff and members of the Class are entitled.
  16                                                  PARTIES

  17           A.      Plaintiff

  18           9.      Venue as to each defendant is proper in this judicial district pursuant to California
  19 Code of Civil Procedure §395. Defendants operate and do business in California, and each
  20 defendant is within the jurisdiction of this court for service of process purposes. The unlawful acts

  21 alleged herein have a direct effect on Plaintiff and those similarly situated within the State of

  22 California. Defendants employ numerous Class Members in the State of California.
  23           10.     Plaintiff, Ms. Aquino, is a resident of the State of California. At all relevant
  24 times herein, Plaintiff has been employed by Defendants as a non-exempt employee in California.
  25           B.      Defendants

  26          11.        Defendant, Omni Hotels, is a Delawre corporation doing business within the State
  27 of California. Omni Hotels employed Plaintiffand similarly situated non-exempt employees

  2 8 1 within the State of California.

                                                     3
                                          CLASS ACTION COMPLAINT
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    1_         12.     The true names and capacities, whether individual, corporate, associate, or
    2 otherwise, of defendants sued herein as DOES 1 through 100, inclusive, are currently unknown to
    3 Plaintiff, who therefore sues defendants by such fictitious names under Code of Civil Procedure
    4§474. Plaintiff is informed and believes, and based thereon alleges, that each of the defendants
    5 designated herein as a DOE is legally responsible in some manner for the unlawful acts referred to
    6 herein. Plaintiff will seek leave of court to amend this Complaint to reflect the true names and
    7 capacities of the defendants designated hereinafter as DOES when such identities become known.
    8         13.     PlaintifP is informed and believes, and based thereon alleges, that each defendant
    9 acted in all respects pertinent to this action as the agent of the other defendant, carried out a joint
  10 scheme, business plan or policy in all respects pertinent hereto, and the acts of each defendant are
  11 legally attributable to the other defendants.
  12                                      FACTUAL BACKGROUND

  13          14.     Plaintiff and other similarly situated employees have not been paid wages,
  14 including overtime wages, for all time worked on multiple occasions, as a result of Defendants
  15 requiring employees to work off-the-clock, such as submitting to required COVID-19 temperature
  16 checks prior to clocking-in and donning and doffing required work uniforms prior to and after
  17 clocking-in and out.
  18          15.     Defendants have had a consistent policy of failing to provide Plaintiff and other
  19 similarly situated employees or fonner employees within the State of California rest periods of at
  20 least ten (10) minutes per four (4) hours worked or major fraction thereof and failing to provide
  21 compensation for such unprovided rest periods as required by California wage and hour laws.
  22          16.     Defendants have had a pattern and practice of on multiple occasions failing to
  23 provide Plaintiff and other similarly situated employees or fonmer employees within the State of
  24 California a thirty (30) minute uninterrupted meal period for days on which the employees worked
  25 more than five (5) hours in a workday and a second thirty (30) minute uninterrupted meal periods
  26 for days on which the employees worked in excess of ten (10) hours in a work day, and on
  27 multiple occasions failing to provide compensation for such unprovided meal periods.
  28

                                                    4
                                         CLASS ACTION COMPLAINT
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   1          17.    Plaintiff and other similarly situated employees or former employees at all times
    2 pertinent hereto were not exempt from the overtime provision of California law and the
   3 implementing rules and regulations of the IWC California Wage Orders.
    4         18.    Defendants have failed to comply with Labor Code §226(a) by, on multiple
   5 occasions, not providing itemized wage statements accurately showing, including but not limited
   6 to, total hours worked during the pay period and pay due and owing for failure to pay wages as
   7 described herein.
   8          19.    At the time PlaintifPs employment and the employment of other former employees
   9 f Defendants ended, Defendants willfully failed to pay overtime wages, minimum wages, and rest
  10 Ird meal period premiums in lieu of each unprovided rest and meal period.
  11                                 CLASS ACTION ALLEGATIONS

  12          20.    Plaintiff brings this action on behalf of herself, and all others similarly situated,
  13 as a class action pursuant to Califomia Code of Civil Procedure §382. Plaintiff seeks to represent
  14 Cive Classes composed of and defined as follows:
  15                 Non-Exempt Employee Class

  16                 All current and former employees of Defendants within the State of California at
                     any time commencing four (4) years preceding the filing of Plaintiff's complaint up
  17                 until the time that notice of the class action is provided to the class (collectively
                     referred to as "Non-Exempt Employee Class").
  18
                     Rest Period Class
  19
                     All current and former employees of Defendants within the State of California at
  20                 any time cornmencing four (4) years preceding the filing of Plaintiff s complaint up
                     until the time that notice of the class action is provided to the class, who worked
  21                 shifts of 4 hours or more (collectively referred to as "Rest Period Class").
  22                 Meal Period Class

  23                 All current and former employees of Defendants within the State of California at
                     any time commencing four (4) years preceding the filing of Plaintiff's complaint up
  24                 until the time that notice of the class action is provided to the class, who worked
                     shifts of 5 hours or more (collectively referred to as "Meal Period Class").
  25
                     Late Pay Class
  26
                    All former employees of Defendants within the State of California at any time
  27                commencing three (3) years preceding the filing of Plaintiff's complaint up until the
                    time that notice of the class action is provided to the class, who did not receive all
  28                their wages upon termination and or resignation of their employment (collectively

                                                  5 1
                                       CLASS ACTION COMPLAINT
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    1                  referred to as "Late Pay Class").
    211                Waae Statement Class
    3                  All current and former employees of Defendants within the State of Califonua, to
                       whom, at any time commencing one (1) year preceding the filing of Plaintiff's
    4                  complaint up until the time that notice of the class action is provided to the class,
                       were provided with wage statements (collectively referred to as "Wage Statement
    5                  Class").

    6           21.    Plaintiff reserves the right under California Rules of Court Rule 3.765(b), to amend
    7 r modify the class description with greater specificity or further division into subclasses or
    8 imitation to particular issues.
    9           22.    This action has been brought and may properly be maintained as a class action
  10 ander the provisions of California Code of Civil Procedure §382 because there is a well-defined
  11 ommunity of interest in the litigation and the proposed Class is easily ascertainable.
  12           A.      Numerosity
  13           23. ' The potential members of the Class as defined are so numerous that joinder of all
  14 the members of the Class is impracticable. While the precise number of Class Members has not
  15 been determined at this time, Plaintiff is informed and believes that there are over 100 Class
  16      embers employed by Defendants within the State of California.
  17           24.     Accounting for employee turnover during the relevant periods necessarily increases
  18 this number. Plaintiff alleges Defendants' employment records would provide information as to
  19 ~the number and location of all Class Members. Joinder of all members of the proposed Class is not
  20
  21           B.     Commonalitv
  22           25.    There are questions of law and fact common to Class Members. These common
  23 questions include, but are not limited to:
  24                  (1)     Did Defendants violate Labor Code §1194 by not compensating Class
  25                          Members overtime wages?
  26                  (2)     Did Defendants violate Labor Code §§1194 and 1197 by not paying Class
  27                          Members minimum wages for all hours worked?
  28 //

                                                           6
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      1                (3)     Did Defendants violate Labor Code §512 and applicable Wage Order by not
      2                       providing Class Members with meal periods?

      3                (4)    Did Defendants violate Labor Code §226.7 by not providing Class Members

      4                       additional wages for missed or interrupted meal periods?

      5               (5)     Did Defendants violate Labor Code §226.7 by not providing Class Members

      6                       additional wages at the regular rate of pay for missed or interrupted meal

     71                       periods?

      0               (6)     Did Defendants violate Labor Code §226.7 by not providing Class Members

     91                       additional wages at the regular rate of pay for missed rest periods?

  10                  (7)     Did Defendants violate Labor Code §§201 and 202 by failing to pay Class

  11                          Members upon termination or resignation all wages earned?

  12                  (8)     Are Defendants liable to Class Members for penalty wages under Labor
  13                          Code §203?

  1411                (9)     Did Defendants violate Labor Code §226(a) by not furnishing Class

  15                          Members with accurate wage statements?

  16                  (10)    Did Defendants violate the Unfair Competition Law, Business and

  17                          Professions Code §17200, et seq., by its unlawful practices as alleged

  18                          herein?

  19                  (11)    Are Class Members entitled to restitution of penalty wages under Business

  F.a<~lll                    and Professions Code §17203?

  21                  (12)    Are Class Members entitled to attorney's fees?

  22                  (13)    Are Class Members entitled to interest?
  23          C.      Typicality
  24          26.     The claims of Plaintiff herein alleged are typical of those claims which could be
  25         by any member of the classes, and the relief sought is typical of the relief which would be
  26         by each of the members of the classes in separate actions. Plaintiff and all members of the
  27         ~ sustained injuries and damages arising out of and caused by Defendants' common course of

  28         t in violation of laws and regulations that have the force and effect of law and statutes as

                                                         7
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    1Ilalleged herein.
    2          D.        Adequacy of Representation
    3          27.       Plaintiff will fairly and adequately represent and protect the interests of the
    4 members of the Classes. Counsel who represents Plaintiff is competent and experienced in
    5 litigating wage and hour class actions.
    6          E.        Superiority of Class Action
    7          28.       A class action is superior to other available means for the fair and efficient
    8 adjudication of this controversy. Individual joinder of all Class Members is not practicable, and
    9 questions of law and fact common to the Class predominate over any questions affecting only
   10 individual members of the Class. Each member of the Class has been damaged and is entitled to
   11 recovery by reason of Defendants' illegal pattern and practice of on multiple occasions failing to
  12 pay overtime wages, failing to pay minimum wages, failing to provide rest and meal periods or
  13 compensation in lieu thereof, failing to pay all wages due upon termination and/or resignation, and
  14 failing to provide accurate itemized wage statements.
  15           29.       Class action treatment will allow those similarly situated persons to litigate their
  16 laims in the manner that is most efficient and economical for the parties and the judicial system.
  17 laintiff is unaware of any difficulties that are likely to be encountered in the management of this
  18 ction that would preclude its maintenance as a class action.
  19                                        FIRST CAUSE OF ACTION
  20                                FAILURE TO PAY OVERTIME WAGES
  21                            (By Plaintiff and the Class Against All Defendants)
  22           30.       Plaintiff realleges and incorporates by reference all of the allegations contained in
  23    ; preceding paragraphs of this Complaint as though fully set forth herein.
  24          31.        At all times relevant to this complaint, California Labor Code §510 was in effect
  25     d provided: "(a) Eight hours of labor constitutes a day's work. Any work in excess of eight hours
  26     one workday and any work in excess of forty hours in any one workweek ... shall be
  27     mpensated at the rate of no less than one and one-half times the regular rate of pay for an
  ~l     iployee." Overtime pay is computed based on the regular rate of pay. The regular rate

                                                      8
                                           CLASS ACTION COMPLAINT
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    1 f pay includes many different kinds of remuneration. Under California law, the determination of
    2 regular rate of pay for purposes of determining overtime pay must include the employee's
    3 Dommissions, bonuses, or other non-hourly compensation:
    4           32.     At all times herein mentioned, Plaintiff and Non-Exempt Employee Class, on
    5 multiple occasions, worked for Defendants during shifts that consisted of more than eight hours in
    6 p work day and/or more than forty hours in a work week and on these multiple occasions
    7 mployees were not paid overtime wages as a result of Defendants requiring Plaintiff and other
    8 California non-exempt employees to undergo COVID-19 temperature checks prior to the start of
    9 heir shifts and donning and doffing required work uniforms prior to and after clocking-in and out.
   10           33.     Accordingly, by requiring Plaintiff and Non-Exempt Employee Class to work in
   11 xcess of eight hours per day and/or forty hours per week and without properly compensating
   12 vertime wages, as described herein, Defendants willfully violated the provisions of Labor Code
   13 . 1194.
   14           34.     As a result of the unlawful acts of Defendants, Plaintiff and the Non-Exempt
   15 Employee Class have been deprived of overtime wages in amounts to be determined at trial, and
  16 are entitled to recovery of such amounts, plus interest and penalties thereon, and attorney's fees and
  17 osts pursuant to Labor Code §§1194 and 1199; Code of Civil Procedure §1021.5; and Civil Code
  18 . 328.7.
  19                                     SECOND CAUSE OF ACTION

  20                                FAILURE TO PAY MINIMUM WAGES

  21                           (By Plaintiff and the Class Against All Defendants)

  22            35.     Plaintiff realleges and incorporates by reference all of the allegations contained in
  23 the preceding paragraphs of this Complaint as though fully set forth herein.
  24            36.     At all relevant times, Plaintiff and the members of the Non-Exempt Employee
  25 Class were employees of Defendants covered by Labor Code §1197 and applicable Wage Orders.
  26            37.     Pursuant to Labor Code §1197 and applicable Wage Orders, Plaintiff and the
  27    embers of the Non-Exempt Employee Class were entitled to receive minimum wages for all
  2 8 Ilhours worked.
                                                                   f'
                                                     9
                                          CLASS ACTION COMPLAINT
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     1          38.       At all times herein mentioned, to the extent that Plaintiff and Non-Exempt

     2   mployee Class worked for Defendants during shifts that were less than eight hours in a work day

     3    d/or less than forty hours in a work week, on multiple occasions, these employees have not been

     4 paid minimum wage, such that in the aggregate employees are underpaid wages as a result of

     5   efendants requiring PIaintiff and other California non-exempt employees to undergo COVID-19

     6 emperature checks prior to the start of their shifts and donning and doffing required work uniforms

     7 rior to and after clocking-in and out.

     8          39.      Defendants' failure to pay Plaintiff and members of the Non-Exempt Employee

     9 Class minimum wages for all hours worked, as described herein, is in violation of Labor Code

   10 §1197 and applicable Wage Orders. As a result of Defendants' pattern and practice, Plaintiff and

   11 members of the Non-Exempt Employee Class have suffered damages in an amount, subject to

   12 proof, to the extent they were not paid minimum wages for all hours worked.

   13           40.       Pursuant to Labor Code §§1194 and 1194.2, Plaintiff and members of the Non-

   14 Exempt Employee Class are entitled to recover the full amount of unpaid minimum wages,

   15 ~rejudgment interest, liquidated damages, reasonable attorney's fees, and costs of suit.

   16                                      THIRD CAUSE OF ACTION

   17                               FAILURE TO PROVIDE REST PERIODS
   18                           (By Plaintiff and the Class Against All Defendants)

   19          41.       Plaintiff realleges and incorporates by reference all of the allegations contained in
   20 the preceding paragraphs of this Complaint as though fully set forth herein.

   21          42.       California law and applicable Wage Orders require that employers "authorize and

   22 ermit" employees to take paid 10 minute rest periods in about the middle of each 4-hour work
  23 eriod "or major fraction thereof." Accordingly, employees who work shifts of 3%2 to 6 hours
  24 must be provided 10 minutes of paid rest period, employees who work shifts of more than 6 and up
  25 to 10 hours must be provided with 20 minutes of paid rest period, and employees who work shifts
  26 of more than 10 hours must be provided 30 minutes of paid rest period. Plaintiff and other
  2 7 kembers of the Rest Period Class were not provided with requisite rest periods as contemplated
  2 8 Ihuider the law.

                                                      10
                                           CLASS ACTION COMPLAINT
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    1           43.    Pursuant to Labor Code §226.7, if an employer fails to provide an employee with a
     2 meal period or rest period as provided in the applicable Wage Order of the Industrial Welfare
     3 Commission, the employer shall pay the employee one additional hour of pay at the employee's
     4 regular rate of compensation for each work day that the meal period or rest period is not provided.
     5          44.    By their failure to provide Plaintiff and other members of the Rest Period Class
     6'th the rest periods contemplated by California law, and failing to provide compensation for such


    8
    9.45.
         r
    7 unprovided rest periods, as alleged above, Defendants willfully violated the provisions of Labor
             §226.7 and applicable Wage Orders.
                       As a result of Defendants' unlawful conduct Plaintiff and the other members of the
   10 est Period Class have suffered damages in an amount, subject to proof, to the extent they were not
   11 paid additional pay owed for missed rest periods.
   12           46.    Plaintiff and the other members of the Rest Period Class are entitled to recover the
   13 11 amount of their unpaid additional pay for missed rest periods. Pursuant to Code of Civil
   14 Procedure §1021.5, Plaintiff and the other members of the Rest Period Class are entitled to recover
   15 reasonable attorneys' fees and costs of suit.
  16           47.     Pursuant to Civil Code §3287(a), Plaintiff and other members of the Rest Period
  17 lass are entitled to recover prejudgment interest on the additional pay owed for missed rest
  18
  19                                  FOURTH CAUSE OF ACTION

  20                             FAILURE TO PROVIDE MEAL PERIODS

  21                          (By Plaintiff and the Class Against All Defendants)

  22           48.     Plaintiff realleges and incorporates by reference all of the allegations contained in
  23 the preceding paragraphs of this Complaint as though fully set forth herein.

  24           49.     Pursuant to Labor Code §512, no employer shall employ an employee for a work
  25 period of more than five (5) hours without a meal break of not less than thirty (30) minutes in

  26     hich the employee is relieved of all of his or her duties. Furthermore no employer shall employ
  27 an employee for a work period of more than ten (10) hours per day without providing the employee
  28 with a second meal period of not less than thirty (30) minutes in which the employee is relieved of

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                                         CLASS ACTION COMPLAINT
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     1 11 of his or her duties. Plaintiff and other members of the Meal Period Class were on multiple
     2 occasions not provided with requisite meal periods as contemplated under the law since employees
     3 would be preverited and discouraged by workplace interruptions which caused missed, short and
     4 late meal periods.
     5             50.     Pursuant to Labor Code §226.7, if an employer fails to provide an employee with a

     6       eal period or rest period as provided in the applicable Wage Order of the Industrial Welfare

     7 Commission, the employer shall pay the employee one additional hour of pay at the employee's

    8 regular rate of compensation for each work day that the meal period or rest period is not provided.

     9             51.    By their failure to provide Plaintiff and members of the Meal Period Class with the

   10 meal periods contemplated by California law, and failing to provide compensation for such

   11        provided meal periods, as alleged above, Defendants willfully violated the provisions of Labor

   12 Code §512 and applicable Wage Orders.

   13              52.    As a result of Defendants' unlawful conduct Plaintiffs and the other members of the

   14        eal Period Class have suffered damages in an amount, subject to proof, to the extent they were

   15 not paid additional pay owed for missed meal periods.

   16              53.    Plaintiff and the other members of the Meal Period Class are entitled to recover the

  17 full amount of their unpaid additional pay for missed meal periods. Pursuant to Code of Civil

  18 Procedure §1021.5, Plaintiff and the other members of the Meal Period Class are entitled to recover

  19 reasonable attorney's fees and costs of suit.

  20               54.    Pursuant to Civil Code §3287(a), Plaintiff and other members of the Meal Period

  21 Class are entitled to recover prejudgment interest on the additional pay owed for missed meal

  22
  23                                        FIFTH CAUSE OF ACTION
  24                        FAILURE TO PAY ALL WAGES UPON TERMINATION

  25                             (By Plaintiff and the Class Against All Defendants)
  26              55.     Plaintiff realleges and incorporates by reference all of the allegations contained in
  27 the preceding paragraphs of this Complaint as though fully set forth herein.
  2 8 IV//

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                                            CLASS ACTION COMPLAINT
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     1          56.    At all relevant times, Plaintiff and other members of the Late Pay Class were
     2 mp      .es of Defendants covered by Labor Code §§ 201 and 202.
     3         57.     Pursuant to Labor Code §§201 or 202, Plaintiff and other members of the Late Pay
     4   lass were entitled upon termination to timely payment of all wages earned and unpaid prior to
     5 ermination. Discharged employees were entitled to payment of all wages earned and unpaid prior

     6 o discharge immediately upon termination. Employees who resigned were entitled to payment of
     7 all wages earned and unpaid prior to resignation within 72 hours after giving notice of resignation
     8 or, if they gave 72 hours previous notice, they were entitled to payment of all wages earned and
     9   paid at the time of resignation.
   10          58.     Defendants failed to pay Plaintiff and other members of the Late Pay Class all
   11 wages earned and unpaid prior to termination in accordance with Labor Code §§201 or 202.
   12 Plaintiff and other members of the Late Pay Class are informed and believe and thereon allege that
   13 within the applicable limitations period, Defendants on multiple occasions had a pattem and
   14 practice of not paying upon termination, the wages owed to them as a consequence of failing to pay

   15 on-exempt employees for earned wages, as described herein.
   16          59.     Defendants' failure to pay Plaintiff and members of the Late Pay Class all wages
   17 arned prior to termination in accordance with Labor Code §§201 and 202 was wilful. Defendants
   18 ad the ability to pay all wages earned by Plaintiff and other members of the Late Pay Class at the
   19 ime of termination in accordance with Labor Code §§201 and 202, but intentionally adopted
   20 policies or practices incompatible with the requirements of Labor Code §§201 and 202.

   21          60.    Pursuant to Labor Code §§201 and 202, Plaintiff and other members of the Late
   22 Pay Class are entitled to all wages earned prior to termination that Defendants failed to pay them.
   23         61.     Pursuant to Labor Code §203, Plaintiff and other members of the Late Pay Class
  24 are entitled to penalty wages from the date their earned and unpaid wages were due upon
  25 tennination until fully paid, up to a maximum of 30 days.
  26          62.     As a result of Defendants' unlawful conduct, Plaintiff and other members of. the
  27 Late Pay Class have suffered damages in an amount subject to proof, to the extent they were not
  28 paid for all wages earned prior to termination.

                                                       13
                                            CLASS ACTION COMPLAINT
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    11         63.     As a result of Defendants' unlawful conduct Plaintiff and the other members of the

    0~      Pay Class have suffered damages in an amount subject to proof, to the extent they were not '
    3 aid all penalty wages owed under Labor Code §203.
    4          64.     Pursuant to Labor Code §§218 and 218.5, Plaintiff and the other members of the
    5 Late Pay Class are entitled to recover the full amount of their unpaid wages, penalty wages under
    6 abor Code §203, reasonable attorney's fees, and costs of suit. Pursuant to Labor Code §218.6 or
    7    ivil Code §3287(a), Plaintiff and the other members of the Late Pay Class are entitled to recover
    8 rejudgment interest on the amount of their unpaid wages and unpaid penalty wages.
    9                                    SIXTH CAUSE OF ACTION

   10                 FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS
   11                         (By Plaintiff and the Class Against All Defendants)

   12          65.     Plaintiff realleges and incorporates by reference all of the allegations contained in
   13 he preceding paragraphs of this Complaint as though fully set forth herein.
   14          66.     At all relevant times, Plaintiff and the other members of the Wage Statement Class
   15    ere employees of Defendants covered by Labor Code § 226.
  16           67.     Pursuant to Labor Code § 226(a), Plaintiff and the other members of the Wage
  17 Statement Class were entitled to receive, semi-monthly or at the time of each payment of wages, an
  18 accurate itemized statement showing gross wages earned, net wages earned, all applicable hourly
  19 rates in effect during the pay period, and the corresponding number of hours worked at each hourly
   2 0 ate by the employee.
   21          68.     Defendants failed to provide Plaintiffand the other members of the Wage
   22 Statement Class accurate itemized wage statements in accordance with Labor Code § 226(a).
  23           69.     Plaintiff and the other members of the Wage Statement Class are informed and
  24 elieve and thereon allege that at all relevant times, Defendants maintained and continue to
  25     aintain a policy and practice of issuing wage statements that do not show, including but not
  2 6 limited to, all hours worked and all earned wages and pay due for all hours worked at applicable
  2 7 rates of pay. Defendants' practices resulted and continue to result in, the issuance of Wage
  2 8 ~Statements to Plaintiff and other members of the Class that do not comply with the itemization

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    1
    21          70.    Defendants' failure to provide Plaintiff aiid other members of the Wage Statement
    3 lass with accurate Wage Statements was knowing and intentional. Defendants had the ability to
    4J~provide Plaintiff and the other members of the Wage Statement Class with accurate Wage
    5 tatements, but intentionally provided wage statements that Defendants knew were not accurate.
    6           71.    As a result of Defendants' unlawful conduct, Plaintiff and the other members of the
    7 Wage Statement Class have suffered injury. The absence of accurate information on their wage
    8 tatements has delayed timely challenge to Defendants' unlawful pay practices, requires discovery
    9 and mathematical computations to determine the amount of wages owed, causes difficulty and
   10 expense in attempting to reconstruct time and pay records, and led to submission of inaccurate
  11 ~nfbrmation about wages and amounts deducted from wages to state and federal government
  12 Ihaencies.
 , 13          72.     Pursuant to Labor Code § 226(e) Plaintiff and other members of the Wage
  14 Statement Class are entitled to recover $50 for the initial pay period during the period in which
  15 violation of Labor Code § 226 occurred and $100 for each violation of Labor Code § 226 in a
  16 ubsequent pay period, not to exceed an aggregate penalty of $4,000 per employee.
  17           73.     Pursuant to Labor Code § 226(e) and § 226(g), Plaintiff and the other members of
  18     e Wage Statement Class were entitled to recover the full amount of penalties due under Labor
  19 Code §226(e) reasonable attorney's fees and costs of suit.
  20                                   SEVENTH CAUSE OF ACTION
  21                                       UNFAIR COMPETITION

  22                      (By Plaintiff and Class Members Against All Defendants)
  23           74.     Plaintiff realleges and incorporates by reference all of the allegations contained in
  24     e preceding paragraphs of this Complaint as though fully set forth herein.
  25           75. , The unlawful conduct of Defendants alleged herein constitutes unfair competition
  26 within the meaning of Business & Professions Code § 17200. Due to their unlawful business
  27 practices in violation of the Labor Code, Defendants have gained a competitive advantage over
  2 8 kther comparable companies doing business in the state of California that comply with their

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                                         CLASS ACTION COMPLAINT
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    1 bligations to compensate employees in accordance with the Labor Code.
     2         76.    As a result of Defendants' unfair competition as alleged herein, Plaintiff and
     3 similarly situated Class Members have suffered injury in fact and lost money or property. Plaintiff
     4   d similarly situated Class Members have been deprived from not being compensated overtime
     5 J ages, from not being compensated minimum wages, from not receiving rest and meal periods or
     6 ompensation in lieu thereof, from receiving all earned wages upon termination, and from
     7 eceiving accurate wages statements.
    8          77.    Pursuant to Business & Professions Code § 17203, Plaintiff and similarly situated
    9 Class Members are entitled to restitution of all wages and other monies owed to them under the
   10 Labor Code including interest thereon, in which they had a property interest which Defendants
   11 fhiled to pay them but withheld and retained for themselves. Restitution of the money owed to
   12 laintiff and similarly situated Class Members is necessary to prevent Defendants from becoming
   13 unjustly enriched by their failure to comply with the Labor Code.
   14          78.    Plaintiff and similarly situated Class Members are entitled to recover reasonable
   15 ttorneys' fees in connection with their unfair competition claims pursuant to Code of Civil
   16 Procedure § 1021.5, the substantial benefit doctrine and/or the common fund doctrine.
   17                                              PRAYER
   18         WHEREFORE, on behalf of herself and all others similarly situated, Plaintiff prays for
   19 udgment against Defendants as follows:
   20         A.      An order certifying that Plaintiff may pursue her claims against Defendants as a
   21 lass action on behalf of the Class Members;
   22         B.      An order appointing Plaintiffas Class representative and appointing Plaintiffs
   23 ounsel as class counsel;
   24         C.      Penalties for inaccurate wage statements under Labor Code §226(e);
   25         D.      Damages for unpaid wages under Labor Code §§201 or 202;
   26         E.      Damages for unpaid penalty wages under Labor Code §203;
   27         F.      Damages for unpaid wages for missed and/or non-compliant meal periods under
   28                 Labor Code §226.7;

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       1       G.    Damages for unpaid wages for missed and/or non-compliant rest periods under

       2             Labor Code §226.7;

       3       H.    Damages for minimum wages;
    4          I.    Damages for premium wages;

    5          J.    Liquidated damages for unpaid minimum wages;

    6          K.    Damages for unpaid overtime wages under Labor Code §1194;

    7          L.    Restitution under Business and Professions Code §17203;

    8          M.    Pre judgment interest;

    9          N.    Costs;

   10          O.    Reasonable attorney's fees; and

   11          P.    Such other and further relief as the Court deems just and proper

   12

   13      TED: May 4, 2022                THE NOURMAND LAW FIRM, APC
   14

   15                                      By:
                                                  Michael Nourmand, Esq.
   16                                             James A. De Sario, Esq.
                                                  Ivan P. Medina, Esq.
   17                                             Attomeys for Plaintiff
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  1                                                                              County of Los Angeles

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                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
  6
                                     FOR THE COUNTY OF LOS ANGELES
  7

  8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
      — MANDATORY ELECTRONIC FILING )
  9   FOR CIVIL                        )
                                       )
10                                    )
11

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17    following:

18    1) DEFINITIONS

19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20           quickly locate and navigate to a designated point of interest within a document.

21       b) "Efiling PortaP" The official court website includes a webpage, referred to as the efiling

22           portal, that gives litigants access to the approved Electronic Filing Service Providers.

23       c) "Electronic Envelope" A transaction through the electronic service provider for submission

24           of documents to the Court for processing which may contain one or more PDF documents
25           attached.

26       d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
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                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1     e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
 2        person or entity that receives an electronic filing from a party for retransmission to the Court.
 3        In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
 4        agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
 5     f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
 6        Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

 8        2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

 9        process attached to or logically associated with an electronic record and executed or adopted

10        by a person with the intent to sign the electronic record.

11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

12        in a hypertext or hypermedia document to another in the same or different document.

13     h) "Portable I)ocument Format" A digital document format that preserves all fonts,

14        formatting, colors and graphics of the original source document, regardless of the application
15        platform used.

16 1 2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,

19        and preserved in electronic format. Any document that the Court receives electronically must

20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an

21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23 ,      Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to

24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.ora.


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 1           d) Documents in Related Cases
 2               Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3               electronic filing has been implemented in that case type, regardless of whether the case has
 4               been related to a Civil case.
 5       3) EXEMPT LITIGANTS
 6           a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

 7              from mandatory electronic filing requirements.

 8           b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

 9              Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

10              from filing documents electronically and be perniitted to file documents by conventional

11              means if the party shows undue hardship or significant prejudice.

12      4) EXEMPT FILINGS
13           a) The following documents shall not be filed electronically:

14 11           i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                    Civil Procedure sections 170.6 or 170.3;
16              ii)   Bonds/Undertaking documents;
17              iii) Trial and Evidentiary Hearing Exhibits
18              iv)   Any ex parte application that is filed concurrently with a new complaint including those
19 I                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20              v)    Documents submitted conditionally under seal. The actual motion or application shall be

21                    electronically filed. A courtesy copy of the electronically filed motion or application to
22                    submit documents conditionally under seal must be provided with the documents
23                    submitted conditionally under seal.
24           b) Lodgments
25              Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26      paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27

28      //



                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1 1 1 5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

 2       Electronic filing service providers must obtain and manage registration information for persons
 3       and entities electronically filing with the court.
 4     6) TECHNICAL REQUIREMENTS
 5       a) Electronic documents must be electronically filed in PDF, text searchable format when

 6           technologically feasible without impairment of the document's image.

 7       b) The table of contents for any filing must be bookmarked.
 8       c) Electronic documents, including but not limited to, declarations, proofs of service, and

 9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10          3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12          bookedmarked item and briefly describe the item.

13       d) Attachments to primary documents must be bookmarked. Examples include, but are not

14          limited to, the following:

15          i)     Depositions;
16 I        ii)    Declarations;

17          iii)   Exhibits (including exhibits to declarations);

18          iv)    Transcripts (including excerpts within transcripts);

19          v)     Points and Authorities;

20          vi)    Citations; and

21          vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23          encouraged.

24       f) Accompanying Documents
25          Each document acompanying a single pleading must be electronically filed as a separate
26          digital PDF document.
27       g) Multiple Documents
28          Multiple documents relating to one case can be uploaded in one envelope transaction.


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  1       h) Writs and Abstracts
  2          Writs and Abstracts must be submitted as a separate electronic envelope.
  3       i) Sealed Documents

  4          If and when a judicial officer orders documents to be filed under seal, those documents must be
 5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
 6           the documents as sealed at the time of electronic submission is the submitting party's
 7           responsibility.
 8       j) Redaction

 9           Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to

10           redact confidential information (such as using initials for names of minors, using the last four

11           digits of a social security number, and using the year for date of birth) so that the information
12           shall not be publicly displayed.

13     7) ELECTRONIC FILING SCHEDULE
14       a) Filed Date

15           i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any

17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)

20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21              course because of: (1) an interruption in service; (2) a transmission error that is not the

22              fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23 '            order, either on its own motion or by noticed motion submitted with a declaration for Court
24 '            consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS

27       a) Ex parte applications and all documents in support thereof must be electronically filed no later

91-A        than 10:00 a.m. the court day before the ex parte hearing.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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 1        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the

 2             day of the ex parte hearing. A printed courtesy copy of any opposition to an ,ex parte

 3             application must be provided to the court the day of the ex parte hearing.
 4     9) PRINTED COURTESY COPIES

 5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6            be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If

 7            the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
 8            by 10:00 a.m. the next business day.

 9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10            electronic submission) is required for the following documents:

11             i)   Any printed document required pursuant to a Standing or General Order;
12            ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                  pages or more;
14           iii)   Pleadings and motions that include points and authorities;
15           iv)    Demurrers;
16            v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17           vi)    Motions for Summary Judgment/Adjudication; and
18          vii)    Motions to Compel Further Discovery.

19        c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of

20            additional documents. Courtroom specific courtesy copy guidelines can be found at

21            www.lacourt.ora on the Civil webpage under "Courtroom Information."

22     0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

23        a) Fees and costs associated with electronic filing must be waived for any litigant who has

24           received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25           1010.6(d)(2).)
26        b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27           section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28           electronically filed in any authorized action or proceeding.


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 1     ~1) SIGNATURES ON ELECTRONIC FILING
 2        For purposes of this General Order, all electronic filings must be in compliance with California
 3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
 4        Division of the Los Angeles County Superior Court.
 5

 6            This First Amended General Order supersedes any previous order related to electronic filing,
 7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
 8     Supervising Judge and/or Presiding Judge.
 9

10     DATED: May 3, 2019                                                        c
                                                            KEVIN C. BRAZILE
11
                                                            Presiding Judge
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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
      Case 2:22-cv-04200-MWF-JC
             T ,   ti           Document 2-1 Filed 06/17/22 Page 27 of 42 Page ID #:44


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          2                                                                 LOSFILED
                                                                                ANGELES SUPERIOR COURT

          3                                                                         MAY Y 1 2011
          4                                                                     JOHN A CLARKE,
                                                                                                  RK
          5                                                                   BY NAPTCYNA~q~p,
                                                                                                 pEpUTY

          6

          7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
          s                            FOR THE COUNTY OF LOS ANGELES
          9
              General Order Re                           )      ORDER PURSUANT TO CCP 1054(a),
      10
              Use of Voluntary Efficient Litigation      )      EXTENDING TIME TO RESPOND BY
      11      Stipulations                               )      30 DAYS WHEN PARTIES AGREE
                                                         )      TO EARLY ORGANIZATIONAL
      12                                                 )      MEETING STIPULATION
      13                                                 )
     14
                     Whereas the Los Angeles Superior Court and the Executive Committee of the
     15
              Litigation Section of the Los Angeles County Bar Association have cooperated in
     16

     17
              drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

     1s       use in general jurisdiction civil litigation in Los Angeles County;

     19              Whereas the Los Angeles County Bar Association Litigation Section; the Los
     20
              Angeles County Bar Association Labor and Employment Law Section; the Consumer
     21
              Attorneys Association of Los Angeles; the Association of Southern California Defense
     22

     23       Counsel; the Association of Business Trial Lawyers of Los Angeles; and the Califomia

     24       Employment Lawyers Association all "endorse the goal of promoting efficiency in
     25
              litigation, and ask that counsel consider using these stipulations as a voluntary way to
     26
              promote communications and procedures among counsel and with the court to fairly
     27
              resolve issues in their cases;"
     2s

                                                          -1-

                                        ORDER PURSUANT TO CCP 1054(a)
Case 2:22-cv-04200-MWF-JC
        e     +'          Document 2-1 Filed 06/17/22 Page 28 of 42 Page ID #:45




                      Whereas the Early Organizational Meeting Stipulation is intended to encourage
      1

      2        cooperation among the parties at an early stage in litigation in order to achieve

      3        litigation efficiencies;
     4
                      Whereas it is intended that use of the Early Organizational Meeting Stipulation
     5
               will promote economic case resolution and judicial efFiciency;
     6

     7
                      Whereas, in order to promote a meaningful discussion of pleading issues at the

     8         Early Organizational Meeting and potentially to reduce the need for motions to
     9
               challenge the pleadings, it is necessary to allow additional time to conduct the Early
 10
               Organizational Meeting before the time to respond to a complaint or cross complaint
 11
               has expired;
 12

 13                  Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

 14           which an action is pending to extend for not more than 30 days the time to respond to
 15
              a pleading "upon good cause shown";
 16
                     Now, therefore, this Court hereby finds that there is good cause to extend for 30
 17
              days the time to respond to a complaint or to a cross complaint in any action in which
18

19 '          the parties have entered into the Early Organizational Meeting Stipulation. This finding

20 I          of good cause is based on the anticipated judicial efficiency and benetits of economic
21
              case resolution that the Early Organizational Meeting Stipulation is intended to
22
          I   promote.
23

24
                     IT IS HEREBY ORDERED that, in any case in which the parties have entered

25            into an Early Organizational Meeting Stipulation, the time for a defending party to
26            respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28


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                                          ORDER PURSUANT TO CCP 1054(a)
     Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 29 of 42 Page ID #:46

r


             by Code of Civil Procedure section 1054(a) without further need of a specific court
         1


         2   order.

         3
                                                                     ~

         4
             o,TED
         5                                           Carolyn B. Ku Supervising Judge of the
         6
                                                     Civil Departments, Los Angeles Superior Court

         7


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                                     ORDER PURSUANT TO CCP 1054(a)
  Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 30 of 42 Page ID #:47

      ~ OR1
         • '1.~~~~                                               , .
    of`
  ~            • '\ "~
                            Superior Court of California, County of Los Angeles



                                  ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                         INFORMATION PACKAGE

 THE PLAINTIFF IVIUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT:

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the actiori
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantaees of ADR
    •      Saves Time: ADR is faster than going to trial.
    •      Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
    •      Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •      Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
    •      Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •      No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR

    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
          strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
           acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                         Mediation may be appropriate when the parties
                           •    want to work out a solution but need help from a neutral person.
                           •    have communication problems or strong emotions that interfere with resolution.
                         Mediation may not be appropriate when the parties
                           •    want a public trial and want a judge or jury to decide the outcome.
                            •   lack equal bargaining power or have a history of physical/emotional abuse.



   LASC CIV 271 Rev. 04/21
                                                                                                                  Page 1 of 2
   For Mandatory Use
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                                  How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all partiesin an active civil case agreetomediation, they may contactthese organizations
              to request a"Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                          ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                          JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                          Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                          (833) 476-9145

       These organizations cannot accept every case and they may decline cases at their discretion. They may
       offer online mediation by video conference for cases they accept. Before contacting these organizations,
       review important information and FAQs at www.lacourt.orR/ADR.Res.List

       NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
       claims cases.

           b. Los Angeles County Dispute Resolution Programs
              https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctoberl9-Current-as-of-October-2019-1.pdf


               Dayof trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully reviewthe Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Barorganizationsthat provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no rightto trial. In "nonbinding" arbitration, any party can request a
      trial afterthe arbitrator'sdecision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. MandatorySettlementConferences(MSC): MSCs are ordered bythe Court and areoften held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      ofFicer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses ofthe case and in negotiatinga settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los AngelesSuperior Court ADRwebsite: http://www.lacourt.orR/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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                                      VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                         The Early Organizational Meeting Stipulation, Discovery
                                      Resolution Stipulation, and Motions in Limine Stipulation are
     Superior Court of California
     County of Los Angeles
                                      voluntary stipulations entered into by the parties. The parties
                                      may enter into one, two, or all three of the stipulations;
                                      however, they may not alter the stipulations as written,
                                      because the Court wants to ensure uniformity of application.
 Los Angeles County
 Bar Association                      These stipulations are meant to encourage cooperation
 Litigation Section

 Los Angeles County
                                      between the parties and to assist in resolving issues in a
 Bar Association Labor and
 Employment Law Section               manner that promotes economic case resolution and judicial
                                      efficiency.
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                 Rbe2Fi71~9n
       I~                                 The    following   organizations   endorse    the   goal   of
 Consumer Attorneys
 Association of Los Angeles           promoting efficiency in litigation and ask that counsel
                                      consider using these stipulations as a voluntary way to
                                      promote communications and procedures among counsel
 ,           ~ r - •~    ,. ti
                                      and with the court to fairly resolve issues in their cases.


                                 i    ♦ Los Angeles County Bar Association Litigation Section♦
Southern California
Defense Counsel

                                                 ♦ Los Angeles County Bar Association
+ssmuea+rn —~reut t uttes
                                                    Labor and Employment Law Section♦
         ~         ios.~in

Association of
Business Trial Lawyers                   ♦ Consumer Attorneys Association of Los Angeles♦


                                                ♦ Southern California Defense Counsel♦


                                                ♦ Association of Business Trial Lawyers♦
              "CELA          ~
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California Employment
Lawyers Association
                                          ♦ California Employment Lawyers Association♦


       LACIV 230 (NEVu)
       LASC Approved 4-11
       For Optional Use
 Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 33 of 42 Page ID #:50




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUTATTORNEY:               I   STATE BAR NUMBER   I   Reserved for Clerk's File Stamp




         TELEPHONE NO.:                                  FAX NO. (Optional):
E-MAIL ADDRESS (Optional):
   ATTORNEY FOR (Name):                        -
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
;OURTHOUSE ADDRESS:


ILAINTIFF:


)EFENDANT:



          STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

     1. The parties commit to conduct an initial conference (in-person or via teleconference or via
        videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
        whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

           b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
              employment case, the employment records, personnel file and documents relating to the
              conduct in question could be considered "core." In a personal injury case, an incident or
              police report, medical records, and repair or maintenance records could be considered
              "core.");

           c. Exchange of names and contact information of witnesses;

          d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
             indemnify or reimburse for payments made to satisfy a judgment;

          e. Exchange of any other information that might be helpful to facilitate understanding, handling,
             or resolution of the case in a manner that preserves objections or privileges by agreement;

          f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
             phases of the case. Also, when and how such issues can be presented to the Court;

          g. Whether or when the case should be scheduled with a settlement officer, what discovery or
             court ruling on legal issues is reasonably required to make settlement discussions meaningful,
             and whether the parties wish to use a sitting judge or a private mediator or other options as
    LACIV 229 (Rev 02/15)
    LASCApproved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
    For Optional Use                                                                                                 Page 1 of 2
Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 34 of 42 Page ID #:51


  SHORT TITLE:                                                                   CASE NUMBER:




                 discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                 complaint;

          h. Computation of damages, including documents, not privileged or protected from disclosure, on
             which such computation is based;

         i. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
            www.lacourt.orp under "Civif' and then under "General Information").

  2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                 to                         for the complaint, and                            for the cross-
                         (INSERT DATE)                                    (INSERT DATE)
                 complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                 and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                 been found by the Civil Supervising Judge due to the case management benefits provided by
                 this Stipulation. A copy of the General Order can be found at www.lacourt.org under "Civif',
                 click on "Genera/ Information", then click on "Voluntary Efficient Litigation Stipulations".

  3.         The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
             and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
             results of their meet and confer and advising the Court of any way it may assist the parties'
             efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
             the Case Management Conference statement, and file the documents when the CMC
             statement is due.

  4.         References to "days" mean calendar days, unless otherwise noted. If the date for performing
             any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
             for performing that act shall be extended to the next Court day

  The following parties stipulate:
  Date:
                                                               1:
                   (TYPE OR PRINT NAME)                                    (ATTORNEY FOR PLAINTIFF)
  Date:
                                                               ➢
                   (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
  Date:
                                                               ➢
                   (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
 Date:
                                                               ➢

                   (TYPE OR PRINT NAME)                                   (ATTORNEY FOR DEFENDANT)
 Date:
                                                               ➢
                   .(TYPE OR PRINT NAME)                             (ATTORNEY FOR
 Date:
                                                               ➢
                   (TYPE OR PRINT NAME)                             (ATTORNEY FOR                            )
 Date:
                                                               E
                   (TYPE OR PRINT NAME)                             (ATTORNEY FOR


 LACIV 229 (Rev 02/15)
 LASC Approved 04/11         STIPULATION — EARLY ORGANIZATIONAL MEETING                               Page 2 of 2
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  Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 35 of 42 Page ID #:52



 NAME AND ADDRESS OFATTORNEY OR PARTY WITHOUTATTORNEY:
                                                         )               I   STATE BAR NUMBER   I   Reserved forClerk's File Stamp




          TELEPHONE NO.:                                     FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):

I SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES I

PLAINTIFF:


DEFENDANT:



                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                 a. The party requesting the Informal Discovery Conference will:

                            File a Request for Informal Discovery Conference with the clerk's office on the
                            approved form (copy attached) and deliver a courtesy, conformed copy to the
                            assigned department;

                            Include a brief summary of the dispute and specify the relief requested; and

                   iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                            that ensures that the opposing party receives the Request for Informal Discovery
                            Conference no later than the next court day following the filing.

                 b. Any Answer to a Request for Informal Discovery Conference must:

                            Also be filed on the approved form (copy attached);

                            Include a brief summary of why the requested relief should be denied;
     tACIV 036 (new)
     LASC Approved 04/11                    STIPULATION — DISCOVERY RESOLUTION
     For Optional Use                                                                                                  Page 1 of 3
Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 36 of 42 Page ID #:53


  SHORT TITLE:                                                                   CASE NUMBER:




                 iii.   Be filed within two (2) court days of receipt of the Request; and

                 iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                        method of service that ensures that the opposing party receives the Answer no
                        later than the next court day following the filing.

        c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
           be accepted.

       d. If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the filing of the Request, then it shall be deemed to have
          been denied. If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference has been granted or denied and, if granted,
          the date and time of the Informal Discovery Conference, which must be within twenty (20)
          days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

  4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
     without the Court having acted or (c) the Informal Discovery Conference is concluded without
     resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing- of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a"specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c); 2031.320(c), and
      2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                               Page 2 of 3
Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 37 of 42 Page ID #:54


  SHORT TITLE:                                                     CASE NUMBER:




  The following parties stipulate:

  Date:
                                                   1:
                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
  Date:
                                                   ➢
                 (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                                                   ➢
                 (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                                                   ➢
                 (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
  Date:
                                                   ➢
                 (TYPE OR PRINT NAME)                   (ATTORNEY FOR                              )
  Date:
                                                   ➢
                 (TYPE OR PRINT NAME)                   (ATTORNEY FOR                              )
  Date:
                                                   ➢
                       OR PRINT NAME)                   (ATTORNEY FOR                              )




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 LACIV 036 (new)
 LASC Approved 04/11           STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                           Page 3 of 3
 Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 38 of 42 Page ID #:55




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:               I STATE BAR NUMBER             I           Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):


SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                     INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                  ❑          Request for Informal Discovery Conference
                  ❑          Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                          (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                 (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




    LACIV 094 (new)
    LASC Approved 04/11
                                             INFORMAL DISCOVERY CONFERENCE
    For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
     ~ Print ~'                       Save a ~                                                                            ~~Clear~ I
  Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 39 of 42 Page ID #:56




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:               I'STATE BAR NUMBER   I   Reserved far Clerk's Flle Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:



              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efPorts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least       days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

     2. The parties thereafter will meet and confer, either in person or via teleconference or
        videoconference, concerning all proposed motions in limine. In that meet and confer, the
        parties will determine:

           a. Whether the parties can stipulate to any of the proposed motions. If the parties so
              stipulate, they may file a stipulation and proposed order with the Court.

           b. Whether any of the proposed motions can be briefed and submitted by means of a
              short joint statement of issues. For each motion which can be addressed by a short
              joint statement of issues, a short joint statement of issues must be filed with the Court
              10 days prior to the final status conference. Each side's portion of the short joint
              statement of issues may not exceed three pages. The parties will meet and confer to
              agree on a date and manner for exchanging the parties' respective portions of the
              short joint statement of issues and the process for filing the short joint statement of
              issues.

     3. AII proposed motions in limine that are not either the subject of a stipulation or briefed via
        a short joint statement of issues will be briefed and filed in accordance with the California
        Rules of Court and the Los Angeles Superior Court Rules.



    LACIV 075 (new)
    LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
    For Optional Use                                                                                               Page 1 of 2
Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 40 of 42 Page ID #:57
                                             i




     SHORT TITLE:                                                 CASE NUMBER:




     The following parties stipulate:

     Date:
                                                     :
                    (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
     Date:
                                                     ➢
                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:
                                                     ➢
                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:
                                                     ➢

                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
  Date:
                                                     ➢
                    (TYPE OR PRINT NAME)                 (ATTORNEY FOR                       )
  Date:
                                                     ➢
                    (TYPE OR PRINT NAME)                 (ATTORNEY FOR                       )
  Date:
                                                     ➢
                    (TYPE OR PRINT NAME)                 (ATTORNEY FOR                       )



  THE COURT SO ORDERS.

      Date:
                                                                  JUDICIAL OFFICER




                                                                                            -.




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 LACIv 075 (new)
 LASC Approved 04/11         STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2
            Case 2:22-cv-04200-MWF-JC Document 2-1 Filed 06/17/22 Page 41 of 42 Page ID #:58
                                                                                        22STCV14835
Electronically FILED by Superior Court of California, County of Los Angeles on 05/04/2022 03:21 PM,Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk
                                                                                                                                                                                 CM-o1 a
        ATTORNEv OR PARTY NTHOUT AT70RNEY (Mams, State 9er numhEr, and addreas):
                                                                                                                                               fOR COURT USE ONCY
         lvan P. Ntedina, Esq,                           SBN: 323360
         THE NOURMAND LAW FIRNf, APC
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                   EYAtL ADDR=SS
             ATTORNEY FOR (nraM): Plaintift; Cnnnen Aquino on bchatf of herself and all othcrs similarty situated
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
            STREETADDRE55: 11I Nortli 1-1111 Street
         yAlL1N0 ADDRESS 1 1 I NoCth Hill Street                                                                                                                                      -
        CITY AND 21P CODE- Los An-eles, 90012
            BRANCHNA.YE: Central DIStTICt

        CASE NAME: Canncn Aquino, et al. v. Oinni 1-lotels Management Corporation, et ai.

                  CIVIL CASE COVER SHEET                                                                                      CASENUM9ER:
                                                                              Complex Case Designation
        OX Unlimited                        0       Limited               =      Counter             =       Joinder             2.~'
                                                                                                                                   ~,ST             CtiV 1 4 u3'=r
           (Amount                                  (Amount
                                                                         Filed with first appearance by defendant             :uDcE
                  demanded                          demanded is
                                                                       (Cal. Rules of Court, rule 3.402)      DEar.:
                  exceeds $25,000)                  $25,000 or less)
                                                      Items 1-6 below must be comp/eted (see instructions on paqe 2).
        1. Check one box below for the case type that best describes this case:
              Auto Tort                                              Contiact                                             Provisionally Complex Civil Litigation
              0      Auto (22)                                       0         Breach of contracUwarranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
             ~     Unlnsured motorist (46)                           0         Rule 3,740 collections (09)                        Antitrust/Trade regulation (03)
             Other PVPD/WD (Personal InjurylProperty                           Other coltections (09)                     0       Construction defect (10)
              DamageiWrongful Death) Tort                            ~                                                    0       Mass tort (40)
                                                                               Insurartce coverage (18)
             ~       Asbestos (04)                                   ~         Other contract (37)                               Securities litigation (28)
             0       Product liability (24)                                                                                     EnvironmentallToxic tort (30)
                                                                     Real Property
             ~       Medical malpractice (45)                        ~                                                          Insurance coverage claims arising from the
                                                                           Eminent domain/Inverse
             Q       Other PI/PDM1D (23)                                                                                        above listed provisionally complex case
                                                                           condemnation (14)
                                                                                                                                types (41)
              Non-PIIPD/WD (Other) Tort                              0     Wrongful eviction (33)                         Enforcement of Judgment
             =       Business torUunfair business practice (07) [J   Other real.property (26)                             0     Enforcement ofjudgment (20p
                     Civil ri9hts 08                            Unlawful Detainer
             0                    ()                                                                                      Miscetlaneous Civil Complaint
             =       Defamation (13)                                 Commercial (31)                                      ~     RICO (27)
             0       Fraud (16)                                                Residential (32)                           O      Other complaint (not speciffed above) (42)
             (~      Intellectual property (19)                            Drugs (38)
                                                                                                                          Miscellaneous Civil Petition
             0       Professional negllgence (25)                    Judicial Review
                                                                                                                          =      Partnership and corporate governance (21)
             ~    Other non-PI/PDlWD fort (35)                                 Asset forfeiture (05)
             Employment                                                        Petltion re: arbitration award (11)        =      Other petition (not specified above) (43)

             Q       Wrongful termination (36)                                 Writ of mandate (02)
             F—
              X-1 Other employment (15)                              0         Other )udfcial revievw (39)
       2. This case 0                  is       =     is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
              factors requiring exceptional judicial management:
             a. 0        Large number of separately represented parqes                      d. F—x-I Large number of witnesses
             b.          Extensive mofion practice raising difficult or novel               e. 0     Coordination with related actions pending in one or more
                         issues that will be time-consuming to resalve                               courts in other coun6es, states, or countries, or in a federal
             c. F—x-I Substantial amount of documentary evidence                                         court
                                                                                            f.           Substantial postjudgment judicial supervision
       3.     Remedies sought (check aU that apply): a. F—x-I monetary b. F—xl nonmonetary; declaratory or injunctive relief c.                                                 punitive
       4. Number of causes of action (specify): 7
       5. This case 0        is   =     is not    a class action suit.
       6. If there are ariy known related cases, fiile and serve a notice of related case. (You may use fo                                   -015.)
      Date: n-1ay 4, 2022
      lvan Medina,'Esq.
                                       irvacna r3ornrr uenn~                                                           .ar_anri ior ne on~ry nn n-.T.,o.w r„o onor,..


        • Plaintiff must file this cover sheet vvith the first paper filed in the action or proceeding (except small claims cases or cases filed
          under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3,220.) Failure to fiJe may result
          in sanctions.
        • File this cover sheet in addition to any cover sheet required by local court rule.
        • If fhis case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on alt
          other parties to the action or proceeding.
        • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for stft'ts~~l~r~os~sron                                                          ,
                                                                                                                                                                                                    _.ai
       FormAdoptedforMandatoryUse                                                                                                 Cal.Ru!esofCourt,rWes230,3.220,3,400~.403,3.740;
         Judldat Councl ot CalAornia                                     CIVILCASECOVERSHEET                                             Cat, Slandards of Judicial Adm(nistratton, std. 3.10
      CM•O70 tRev.September 1, 20211                                                                                                                                    www.carnts.ca po.•
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                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                                 CM-010
  To Plaintiffs and Others Filing First Papers. If you are fiing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statisfics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has mulfiple causes of action, check the box that best indicates the primary cause of action.
 To assist you In completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court
 To Parties In Ruie 3.740 Coilections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
 in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
 property, services, or money was acquired on credit A collec6ons case does not include an action seelang the follovAng: (1) tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requlrements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case vvill be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
 completing the appropriate boxes in items 1 and 2. If a piaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all patties to the action. A defendant may file and serve no (ater than the time of its first appearance a joEnder in the
 plaintifrs designation, a counter-deslgnation that the case is not complex, or, if the plainfiff has made no designation, a designation that
 the case is complex.                                                TYPES AND EXAMPLES
   Auto Tont                                      ContractCASE                                      Provisionally Complex Civii Litigation (Cal.
      Auto (22)-Personal Injury/Property               Breach of ContractlWarranty (06)             Rules of Court Rules 3.400-3.403)
             Damage/WFongful Death                          Breach of Rental/Lease                         AntitrustlTrade Regulation (03)
          Uninsured Motorist (46) plthe                          Contract (not unlawlul detalner           Constrvctlon Defect (10)
           case lnvolves an uninsured                                or wrvngful  evlcflon)                Ciaims Involvirtg Mass Tort (40)
          moforist daim subJect to                          ContraclMlarranty Breach-Seller                Securities Litigation (28)
           anbltraHon, check this Item                          Plalntiff (not haud ornegligence)         EnvironmentallToxic Tort (30)
          lrtstead olAuto)                                  Negligent 8reach of Contract/                 Insurance Coverage Claims
   Other PIIPDNVD (Personal Injury/                             Warranty                                         (a►tsJdg Iram provlsfonally complex
   Property Damage/Wrongful Death)                          Other Breach of ContractlWarranty                    case type listed above) (41)
   Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
        Asbestos (04)                                       book aocounts) (09)                         Enforcement of Judgment (20)
           Asbestos Property Damage                         Coliection Case-Seller Plaintiff                Abstract of Judgment (Out of
           Asbestos Personal Injury/                        Other Promissory Note/Collections                     County)
                 Wrongful Death                                 Case                                    Confession of Judgment (non-
        Product Liabllity (not asbestos or            Insurance Coverage (not provislonally                  domesNc relatlons)
            toxiclenvironmental) (24)                       complex) (18)                               Sister State Judgment
        Medical Malpractice (45)                           Auto Subrogation                             Administrative Agency Award
             Medical Malpractice-                          Other Coverage                                   (not unpa)d taxes)
                  Physicians 8 Surgeons               Other Contract (37)                               Petitlon/Certification of Entry of
        Other Professional Health Care                     Contractual   Fraud                               Judgment on Unpaid Taxes
               Malpractice                                 Other Contract Dispute                        Other Enforcement of Judgment
        Other PI/PDM/D (23)                      Real Property                                                Case
             Premises Llability (e.g., slip          Eminent Domaln/Inverse                        Misceilaneous Civil Complafnt
                  and fall)                                Condemnation     (14)                        RICO (27) .
            Intentional Bodily Injury/PDMlD          Wrongful Eviction (33)                             Other Comptaint (not specified
                  (e.g., assault, vandalism)         Other Real PropeRy (e.g., quiet title) (26)             above) (42)
            IntenBonal Infliction of                       Writ of Possession of Real Property               Declaratory Relief Oniy
                  Emotional Distress                       Mortgage   Foreclosure                            Injunctive Relief Only (non-
            Negligent InRictlon of                         Quiet Title                                             harassment)
                  Emotional Distress                       Olher Real Property (not eminent                  Mechanics Lien
             Other PI/PDNVD                                domaln, tandlordA'enant or                        Other Commerciai Complalnl
  Non-PI/PD/WD (Other) Tort                                foreclosure)                                            Case (non-tott/non-complex)
       Business Tort/Unrair Business             Unlawful     Detainer                                       Other Civil Complaint
            Practice (07)                            Commercial (31)                                               (non-tortlnon-complex)
        Civil Rights (e.g., discrimination,          Residentlal (32)                              Misceilaneous Civil Petition
             false arrest) (not cJvU                 Drugs (38) (Ifthe caseinvolveslllegal              Partnership and Corporate
             harassment) (08)                        drugs, check this Jtem; othenvlse,                     Governance (21)
       DefamaUon (e.g., slander, libel)              report as Commerclal or Resldential)               Other Petitlon (not specified
              (13)                               Judicfat Review                                            above) (43)
       Fraud (16)                                    Asset Forteiture (05)                                  Civil Harassment
       Intellectual Property (19}                    Petition Re: Arbitration Award (11)                    Workplace Violence
       Professional Negllgence (25)                  Wrf it o Mandate (02)                                  Etder/Dependent Aduft
           Legal Malpractice                              Writ-Administrative    Mandamus                         Abuse
           Other Professlonal Malpractice                 Writ-Mandamus on Limited Court                    Election Contest
                (not medicei or/egal)                         Case Maer tt                                  Petition for Name Change
       Other Non-PI/PDM1D Tort (35)                       Writ-Other Limited Court Case                     Petition for Relief From Late
 Empioyment                                                   Rev iew                                             Claim
       Wrongful Termination (36)                     Other   Judicial Review    (39)                        Other Civil Petttlon
       Other Employment (15)                              Review of Health O(ficer Order
                                                          Notice of Appeal-Labor
                                                                Commissioner Appeals
Cm+.o10 [Rev. aePiemxf 1.2ozIi                             CIVIL CASE COVER SHEET                                                             Pega 2 of 2
